Shawn Lindsay, OSB #020695
JURISLAW, LLP
Three Centerpointe Drive, Suite 160
Lake Oswego, OR 97035
Telephone: 503.968.1475
shawn@jurislawyer.com
Attorney for Plaintiff




                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                       EUGENE DIVISION

 OREGON RIGHT TO LIFE,                              Case No.: 6:23-cv-1282
                                       Plaintiff,
 v.
                                                    PLAINTIFF’S MOTION TO
 OREGON DEPARTMENT OF                               CONSOLIDATE AND SUPPORTING
 CONSUMER AND BUSINESS                              MEMORANDUM OF LAW
 SERVICES and ANDREW R. STOLFI, in
 his official capacities as Department of
 Consumer and Business Services Director and
 Oregon Insurance Commissioner,
                                    Defendants.

                                             Motion

      Under LR 7-1(a)(1), Oregon Right to Life (“ORTL”) certifies that, “[i]n compliance with

this Rule, the parties made a good faith effort through [a video conference on September 11,

2023] to resolve the dispute and have been unable to do so.” Defendants’ position is that they

oppose the present motion.

      Plaintiff Oregon Right to Life (“ORTL”) has filed (i) its Verified Complaint for Declaratory

and Injunctive Relief (“Verified Complaint”), seeking relief from the insurance-coverage man-


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date at § 2 (the “Mandate”) of Enrolled House Bill 3391, and (ii) its Preliminary Injunction Mo-

tion and Memorandum, along with an affidavit verifying online information cited. ORTL claims

the Mandate burdens its sincerely held religious beliefs and free-exercise right by requiring

ORTL to provide abortion and abortifacient coverage in its health-benefit plan against con-

science. ORTL moves to consolidate the hearing on ORTL’s Motion for Preliminary Injunction

with the trial on the merits of ORTL’s Verified Complaint. FRCP 65(a)(2). In support, ORTL

states as follows. LR 7-1(c).

                                        Memorandum

                                                 I.
                       Consolidation Is Permitted Under FRCP 65(a)(2).

    “Before or after beginning the hearing on a motion for a preliminary injunction, the court

may advance the trial on the merits and consolidate it with the hearing.” FRCP 65(a)(2). Consoli-

dation serves the interests of judicial economy and preventing duplication of work. C.R. of Rialto

v. City of Rialto, 964 F. Supp. 1401, 1405 (C.D. Cal. 1997). While the district court must “afford

the parties a full opportunity to present their respective cases” by giving “clear and unambiguous

notice” of intended consolidation, Michenfelder v. Sumner, 860 F.2d 328, 337 (9th Cir. 1988)

(quoting University of Texas v. Camenisch, 451 U.S. 390, 395), it has “very broad” discretion in

whether to consolidate, id., and “[a] decision to consolidate an action under Federal Rule of Civil

Procedure 65(a)(2) is reviewed for abuse of discretion,” Slidewaters v. Washington State Dep’t of

Lab. & Indus., 4 F.4th 747, 759 (9th Cir. 2021), cert. denied, 142 S.Ct. 779 (2022).

    Rule 65(a) consolidation is often used where the factual issues are limited (such as cases in

which only declaratory and injunctive relief are sought), where factual concerns are unlikely to

affect the court’s ultimate decision, or where evidence that may be in dispute is readily available.


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See, e.g., Slidewaters, 4 F.4th at 760 (“The issues raised by the complaint were legal. The central

challenge was to [the government’s] authority under Washington law. Resolving that challenge

did not require additional factual development.”); C.R. of Rialto, 964 F. Supp. at 1405 (city op-

posed consolidation, but “made no showing why it could not present admissible evidence” in the

given time); Brooks v. Centurion of Arizona, No. CV-21-00265-TUC-JCH, 2022 WL 4535242,

at *13 (D. Ariz. Sept. 28, 2022) (as complainant sought “only . . . injunctive and declaratory re-

lief based on legal arguments . . . , a separate trial on the merits seem[ed] unnecessary.”). As this

case meets such criteria, consolidation should be granted, as established next.

                                                  II.
                         Consolidation Should Be Granted in this Case.

    Consolidation serves important functions, including making case management efficient by

eliminating needless repetition of evidence that would otherwise be offered cumulatively at a

preliminary injunction hearing and a trial on the merits and “expedit[ing] the final disposition of

the action.” FRCP 65(a)(2) advisory committee’s note to 1966 amendment. Consolidation is

proper when “evidence received in connection with an application for a preliminary injunction

which would be admissible on the trial on the merits forms part of the trial record.” Id. As estab-

lished next, consolidation under Rule 65(a)(2) should be granted in this case as it furthers those

important functions because (A) the facts about ORTL are verified, straightforward, and limited;

(B) consolidation prevents needless repetition and promotes judicial efficiency; and (C) a deci-

sion on the merits will expedite resolution of this case.

A. The facts about ORTL are verified, straightforward, and limited.

    The facts about ORTL to be considered in deciding whether to grant declaratory and injunc-

tive relief are verified, straightforward, and limited. ORTL verified the facts about itself, its


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health-benefit plan, its sincerely held religious beliefs, the substantial burden imposed thereon by

the Mandate, and key legislative testimony regarding the Mandate in the Verified Complaint.

Verified complaints are evidence. Lew v. Kona Hosp., 754 F.2d 1420, 1423 (9th Cir. 1985).

ORTL’s religious beliefs cannot be gainsaid. Fulton v. City of Philadelphia, Pennsylvania, 141

S. Ct. 1868, 1876 (2021). ORTL’s facts stating a First Amendment Free Exercise claim are

straightforward, paralleling free-exercise facts in recent cases where plaintiffs made similar, suc-

cessful, free-exercise challenges. See, e.g., Foothill Church v. Watanabe, 3 F.4th 1201 (9th Cir.

2021); Burwell v. Hobby Lobby Stores, 573 U.S. 682 (2014). And since the claim is limited to

declaratory and injunctive relief, based on legal arguments, the facts are similarly limited because

there is no need to prove damages.

    Legislative facts, such as the Mandate’s terms and legislative history, are also straightfor-

ward and not reasonably subject to dispute. So this case doesn’t turn on factual issues but on the

legal issue of whether—given these facts and the case law—ORTL is entitled to requested relief

because Oregon’s Mandate violates its rights under federal Free Exercise Clause.

B. Consolidation prevents needless repetition and promotes judicial efficiency.

    Consolidation here will advance the important functions of avoiding needless repetition and

promoting judicial efficiency. The evidence used for the preliminary injunction is the same that

will be used in deciding the merits. Given that the relevant facts about ORTL are verified,

straightforward, and limited, Plaintiffs and Defendants will present the same facts at any hearing

on the merits, and the standard of proof to which they will have been subjected is sufficient for

their consideration on the claim’s merits. So consolidation will avoid needless evidence repeti-

tion and promote judicial efficiency. Of course judicial efficiency is also advanced by consolida-

tion because likely merits success is the key factor in granting a preliminary injunction, Am.

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Trucking Associations v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009), especially in

the First Amendment context. So in deciding likely merits success on that issue, the Court will

have essentially resolved the free-exercise issue on the merits, making doing so efficient.

    Thus, all of the facts necessary to determine the merits of the Verified Complaint are, or will

be, before the Court at the preliminary injunction hearing. So consolidation of the decision on a

preliminary injunction with the merits of the Verified Complaint prevents needless repetition and

promotes judicial efficiency.

C. A decision on the merits will expedite resolution of this case.

    Consolidation will also provide for an expeditious resolution of this case, thereby conserving

judicial resources. Only one single constitutional question is at issue here. So deciding whether

the Mandate’s requirement that health-benefit plans cover abortion and abortifacients is unconsti-

tutional as applied to ORTL will determine this matter. Accordingly, “[j]udicial economy would

not be served if the [C]ourt declined to consolidate, and the parties were forced to duplicate their

work by litigating these issues at a later trial.” C.R. of Rialto, 964 F. Supp. at 1405.

    Consolidation of the decision on a preliminary injunction with the merits of the Verified

Complaint will expeditiously resolve this case and preserve judicial resources.

                                            Conclusion

    In sum, consolidation serves the interests of justice and is proper in this case for at least the

following reasons: (1) ORTL’s likelihood of success on the merits is decisive and will be before

this Court as a matter of law at the hearing for preliminary injunction; (2) the same evidence is

relevant to ORTL’s preliminary injunction and the merits, resulting in avoidance of needless rep-

etition of evidence; and (3) it will expedite resolution of this case, preserving judicial resources.



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This Court should grant ORTL’s Motion to Consolidate.

    WHEREFORE, ORTL prays this Court to grant its Motion to consolidate the hearing on

ORTL’s preliminary injunction motion with the hearing on the merits.

Dated: September 12, 2023                       Respectfully submitted,
                                                /s/ Shawn Lindsay
James Bopp, Jr., IN Bar #2838-84*               Shawn Lindsay, OSB #020695
 jboppjr@aol.com                                JURISLAW, LLP
                                                Three Centerpointe Drive, Suite 160
Richard E. Coleson, IN Bar #11527-70*
                                                Lake Oswego, OR 97035
 rcoleson@bopplaw.com
                                                Telephone: 503.968.1475
Joseph D. Maughon, VA Bar #87799*               shawn@jurislawyer.com
 jmaughon@bopplaw.com                           Attorney for Plaintiff
THE BOPP LAW FIRM, PC
The National Building
1 South Sixth Street
Terre Haute, IN 47807-3510
812.232.2434 telephone
812.235.3685 facsimile
*pro hac vice application forthcoming
Counsel for Plaintiff




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                            Attorney Certificate of Service

    I hereby certify that on September 12, 2023, I have made service of the foregoing Plaintiffs’

Motion to Consolidate and Supporting Memorandum of Law on the parties listed below in

the manner indicated:



 BRIAN SIMMONDS MARSHALL #196129                 ☐ U.S. Mail
 Senior Assistant Attorney General               ☐ Facsimile
 Department of Justice                           ☐ Hand Delivery
 100 SW Market Street                            ☐ Overnight Courier
 Portland, OR 97201                              ☐ Email:
 Tel (971) 673-1880                              ☒ Electronically via USDC CM/ECF system
 Fax (971) 673-5000
 Brian.S.Marshall@doj.state.or.us
 Attorney for Defendants Oregon Department
 of Consumer and Business Services and An-
 drew W. Stolfi
 ALEX C. JONES #213898                           ☐ U.S. Mail
 Department of Justice                           ☐ Facsimile
 100 SW Market Street                            ☐ Hand Delivery
 Portland, OR 97201                              ☐ Overnight Courier
 Tel (971) 673-1880                              ☐ Email:
 Fax (971) 673-5000                              ☒ Electronically via USDC CM/ECF system
 Alex.C.Jones@doj.state.or.us
 Attorney for Defendants Oregon Department
 of Consumer and Business Services and An-
 drew W. Stolfi

DATED: September 12, 2023                        JURISLAW LLP

                                                 /s/ Shawn Lindsay
                                                 Shawn Lindsay, OSB #020695
                                                 JURISLAW, LLP
                                                 Three Centerpointe Drive, Suite 160
                                                 Lake Oswego, OR 97035
                                                 Telephone: 503.968.1475
                                                 shawn@jurislawyer.com
                                                 Attorney for Plaintiff
